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   8                         UNITED STATES DISTRICT COURT
   9                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  10
  11 Universal City Studios Productions      Case No. 2:17-cv-07496-MWF(AS)
     LLLP; Columbia Pictures Industries,
  12 Inc.; Disney Enterprises, Inc.;         PRELIMINARY INJUNCTION
     Twentieth Century Fox Film
  13 Corporation; Paramount Pictures
     Corporation; Warner Bros.
  14 Entertainment Inc.; Amazon Content
     Services, LLC; Netflix Studios, LLC,
  15
                  Plaintiffs,
  16
            vs.
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     TickBox TV LLC,
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                  Defendant.
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                                                              PRELIMINARY INJUNCTION
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   1            Pursuant to the Court’s Order re Plaintiffs’ Motion for Preliminary Injunction
   2 (Dkt. No. 40), Plaintiffs Universal City Studios Productions LLLP, Columbia
   3 Pictures Industries, Inc., Disney Enterprises, Inc., Twentieth Century Fox Film
   4 Corporation, Paramount Pictures Corporation, Warner Bros. Entertainment Inc.,
   5 Amazon Content Services, LLC, and Netflix Studios, LLC (collectively,
   6 “Plaintiffs”) are entitled to a Preliminary Injunction.
   7            Accordingly, IT IS HEREBY ORDERED THAT, during the pendency of this
   8 case, Defendant TickBox TV LLC and its officers, agents, servants, employees, and
   9 attorneys, and other persons acting in active concert or participation with any of
  10 them who receive actual notice of this Preliminary Injunction (collectively,
  11 “TickBox”) are RESTRAINED and ENJOINED as follows:
  12            1.    Not later than two (2) calendar days after the entry of this Preliminary
  13 Injunction:
  14                  a.     TickBox’s launcher software shall not include or provide links to
  15            any “build,” “theme,” “app,” “addon” or other software program that TickBox
  16            knows or has reason to know links directly or indirectly to third-party
  17            cyberlockers or streaming sites that transmit unauthorized performances of
  18            copyrighted motion pictures or television shows (“Subject Software”).
  19            Internet Explorer, Google Chrome, Safari, and Firefox are not Subject
  20            Software.
  21                  b.     TickBox shall issue an update to the TickBox launcher software
  22            to be automatically downloaded and installed onto any previously distributed
  23            TickBox TV device and to be launched when such device connects to the
  24            internet. Upon being launched, the update will delete the Subject Software
  25            downloaded onto the device prior to the update, or otherwise cause the
  26            TickBox TV device to be unable to access any Subject Software downloaded
  27            onto or accessed via that device prior to the update. TickBox shall ensure that
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                                                                         PRELIMINARY INJUNCTION
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   1            such updated launcher software is installed on all TickBox TV devices
   2            shipped after the date of this Preliminary Injunction.
   3                  c.     TickBox shall remove all tiles on TickBox’s home screen that
   4            take users to menus for downloading Subject Software to the TickBox TV
   5            device, other than a tile that links users exclusively to the Google Play Store
   6            or to Kodi within the Google Play Store.
   7            2.    Within twenty-four (24) hours of receiving written notice that a
   8 Plaintiff reasonably asserts that any build, theme, app, or addon available through
   9 TickBox devices is Subject Software, TickBox shall remove from or disable access
  10 through its menus to such build, theme, app, or addon. If such notice is received
  11 after 6:00 p.m eastern time on a Friday, on a Saturday, or before 6:00 p.m. eastern
  12 time on a Sunday, TickBox shall complete the removal by 6:00 p.m. eastern time on
  13 the immediately following Monday.
  14            3.    TickBox shall not:
  15                  a.     Curate any tile or menu of user options to download or access
  16            any Subject Software.
  17                  b.     Encourage or induce any person to locate, upload, download,
  18            install, or use Subject Software, or knowingly support or assist any person in
  19            locating, uploading, downloading, installing, or using Subject Software.
  20                  c.     Knowingly take any action for the purpose or that has the effect
  21            of circumventing the requirements of the Preliminary Injunction, including
  22            without limitation impairing the effectiveness of this Preliminary Injunctions’
  23            requirements that TickBox limit the ability of users of TickBox TV devices to
  24            use the devices to access or use Subject Software.
  25            4.    Plaintiffs shall post security in the amount of $50,000 to compensate
  26 TickBox for its losses in the event that this injunction is reversed or vacated.
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                                                               [PROPOSED] PRELIMINARY INJUNCTION
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   1            5.   Once signed and entered as an Order by the Court, this Preliminary
   2 Injunction replaces and supersedes the Order for Preliminary Injunction (Dkt. No.
   3 41) entered by the Court January 30, 2018.
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   5 IT IS SO ORDERED
   6 DATED: February 13, 2018
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   8
                                              The Honorable Michael W. Fitzgerald
   9
                                              United States District Judge
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                                                           [PROPOSED] PRELIMINARY INJUNCTION
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